             Case 4:06-cr-00126-PJH        Document 39       Filed 07/31/06     Page 1 of 2



 1   Edward W. Swanson, SBN 159859
     SWANSON, McNAMARA & HALLER LLP
 2   300 Montgomery Street, Suite 1100
     San Francisco, California 94104
 3   Telephone: (415) 477-3800
     Facsimile: (415) 477-9010
 4
     Attorney for CHAE KYUN CHUNG
 5
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                           Case No. CR 06-0126-02 PJH
12                          Plaintiff,                    STIPULATION AND [PROPOSED]
                                                          ORDER CONTINUING SELF-
13            vs.                                         SURRENDER DATE
14    CHAE KYUN CHUNG,
15                          Defendant.
16
17                                          STIPULATION

18          Defendant Chae Kyun Chung, by and through his counsel, Edward W. Swanson, and the

19   United States Department of Justice, by and through Niall E. Lynch, hereby stipulate and agree

20   to a continuance of Mr. Chung’s self-surrender date from October 2, 2006 to October 16, 2006.

21   The purpose for the continuance is to enable Mr. Chung to address certain work commitments

22   prior to surrender.

23   ///

24   ///

25   ///

26   ///

27   ///

28   ///
           Case 4:06-cr-00126-PJH   Document 39    Filed 07/31/06                                                                                Page 2 of 2



 1         IT IS SO STIPULATED.
 2
 3   DATED: July 28, 2006                               /s/
                                              Edward W. Swanson
 4                                            Swanson, McNamara & Haller LLP
                                              Counsel for CHAE KYUN CHUNG
 5
 6
     DATED: July 28, 2006                                /s/
 7                                            Niall E. Lynch
                                              United States Department of Justice
 8                                            Antitrust Division
 9
10
11                                     ORDER
12
           PURSUANT TO STIPULATION, IT IS SO ORDERED.
13
                                                               ISTRIC
                                                          TES D      TC
                                                        TA
14   DATED: 7/31/06




                                                                                                                                                       O
                                                   S




                                                                                                                                                        U
15
                                                  ED




                                                                                                                                                         RT
                                                                     DERED
                                              Honorable Phyllis J. Hamilton,
                                              UNIT




16                                            United States S O ORJudge
                                                            District
                                                       IT IS



                                                                                                                                                               R NIA
                                                                                    S DISTRICT
                                                                                  TE           C
                                                                                TA
                                                                                                                    O
                                                                           S




                                                                                                                     U
                                                                          ED




                                                                                                                      RT
                                                                      UNIT




                                                                                            ORDERED
                                                                               IT IS SO
                                                                                                                                R NIA




17
                                                                                                J. Hamilton
                                                                      NO




                                                                                Judge Phyllis
                                                                                                                             FO
                                                                       RT




                                                                                                                         LI




                                                                               ER
                                                                          H




                                                                                                                     A




                                                                                    N                                    C
                                                                                                                   F
                                                                                        D IS T IC T O
                                                                                              R




                                                                                                             S DISTRICT
                                                                                                           TE           C
                                                                                                         TA
                                                                                                     S




                                                                                                                                 O
                                                                                                  ED




                                                                                                                                  U
                                                                                                                                   RT
                                                                                              UNIT




                                                                                                                    ORDERED
                                                                                                       IT IS SO
                                                                                                                                         R NIA




                                                                                                                         J. Hamilton
                                                                                                NO




                                                                                                         Judge Phyllis
                                                                                                                                         FO
                                                                                                RT




                                                                                                                                     LI




                                                                                                       ER
                                                                                                  H




                                                                                                                                  A




                                                                                                            N                        C
                                                                                                                                 F
                                                                                                                D IS T IC T O
                                                                                                                      R




                                                                                                                                                          n
18
                                                                    yllis J.                                                                     Hamilto
                                              NO




                                                            udge Ph
                                                                                                                                                               FO
                                                        J
                                                  RT




19
                                                                                                                                                           LI

                                                       ER
                                                   H




                                                                                                                                                       A


20
                                                            N                                                                                              C
                                                                                                                                                      F
                                                                D IS T IC T O
21                                                                    R
22
23
24
25
26
27
28                                        2
